     Case 2:21-cv-07286-CAS-JPR Document 9 Filed 04/01/22 Page 1 of 2 Page ID #:28



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12
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13
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
14
                                    WESTERN DIVISION
15
     UNITED STATES OF AMERICA,                Case No. 2:21−cv−07286-CAS(JPRx)
16
                Plaintiff,
17                                            NOTICE OF VOLUNTARY DISMISSAL
                      v.
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     $1,182,500.00 IN U.S. CURRENCY,
19
                Defendant.
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     Case 2:21-cv-07286-CAS-JPR Document 9 Filed 04/01/22 Page 2 of 2 Page ID #:29



1          NOTICE is hereby given that, pursuant to Fed. R. Civ. P.

2    41(a)(1)(A), plaintiff United States of America voluntarily dismisses

3    the above-captioned action.

4    Dated: April 1, 2022               TRACY L. WILKISON
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7
                                        _______/s/___________________
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